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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

LABORERS’ LOCAL #231 )
PENSION FUND, Individually )
and on Behalf of All Others )
Similarly Situated, )
)

Plaintiffs, )

)

V. ) Civil Action No. 17-478-CFC

)

RORY COWAN, et al., )
)

Defendants. )

JUDGMENT IN A CIVIL CASE

For reasons stated in the Court’s Memorandum Opinion and Order of March
19, 2020;
IT IS ORDERED that judgment is entered in favor of Defendants and

against Plaintiffs.

GL. G a%

United States Distric@idge

Dated: 3-:/7.20

 
